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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                          NORTHERN DIVISION

EDDIE GIBBS                                                            PLAINTIFF


v.                            No: 3:20-cv-00123 PSH


GLENN, et al.                                                      DEFENDANTS

                                     ORDER

      Plaintiff Eddie Gibbs filed a pro se complaint pursuant to 42 U.S.C. § 1983

on April 23, 2020 (Doc. No. 2). Because mail sent to plaintiff Gibbs at his address

of record was returned as undeliverable in another case (Case No. 3:20-cv-00323-

DPM), the Court entered a text order on February 24, 2021, notifying Gibbs that he

must provide notice of his current mailing address by no later than thirty days from

the entry of the February 24 text order. See Doc. No. 35. Gibbs was warned that his

failure to provide a current mailing address may cause his complaint to be dismissed.

A printed version of the text order was sent to him at his last known address, the

Scott County Sheriff’s Office in Benton, MO, and was returned as undeliverable.

Doc. No. 36. See Doc. No. 33, letter dated November 12, 2020, identifying new

address. A copy of the Court’s February 24 Order was also mailed to Gibbs at an

alternative address provided by Gibbs in a letter dated October 29, 2020. See Doc.

No. 34.
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       More than 30 days have passed since the Court’s February 24 Order was last

mailed to Gibbs, and Gibbs has not complied or otherwise responded to the order.

Accordingly, Gibbs’ complaint is dismissed without prejudice for failure to comply

with Local Rule 5.5(c)(2) and failure to respond to the Court’s orders.1 See Miller

v. Benson, 51 F.3d 166, 168 (8th Cir. 1995) (district courts have inherent power to

dismiss sua sponte a case for failure to prosecute, and exercise of that power is

reviewed for abuse of discretion).

       IT IS SO ORDERED this 5th day of May, 2021.




                                           UNITED STATES MAGISTRATE JUDGE




       1
         In its initial order to Gibbs, the Court notified him of his duty to promptly notify
the Clerk and the parties of any change in his address. The Court also notified Gibbs that
if any communication from the Court to him is not responded to within 30 days, his case
may be dismissed without prejudice. Doc. No. 3.
